
40 N.Y.2d 921 (1976)
Donald Antinore, Appellant,
v.
State of New York et al., Respondents.
Court of Appeals of the State of New York.
Argued October 12, 1976.
Decided November 16, 1976.
Donald E. Grossfield for appellant.
Louis J. Lefkowitz, Attorney-General (John Q. Driscoll and Ruth Kessler Toch of counsel), for respondents.
Concur: Chief Judge BREITEL and Judges JASEN, GABRIELLI, JONES, WACHTLER, FUCHSBERG and COOKE.
Order affirmed, with costs, on the opinion by Mr. Justice FRANK DEL VECCHIO at the Appellate Division except insofar as the opinion refers to the necessity for importing particular procedural safeguards into this arbitration proceeding under CPLR article 75.
